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                 4                                 UNITED STATES DISTRICT COURT
                 5                                        DISTRICT OF NEVADA
                 6                                                    ***
                 7       UNITED STATES OF AMERICA,                            Case No. 2:14-CR-280 JCM (GWF)
                 8                                            Plaintiff(s),                    ORDER
                 9              v.
               10        ANDRE HALL, et al.,
               11                                           Defendant(s).
               12
               13              Presently before the court is defendant Andre Hall’s “request” for a BOP recommendation,
               14       which the court will treat as a motion. (ECF No. 244).
               15              Defendant requests that the court recommend him to be housed at FCI Tucson to serve his
               16       sentence so that he may participate in the electrician apprenticeship program and obtain his GED.
               17              Accordingly,
               18              IT IS HEREBY ORDERED, ADJUDGED, and DECREED that defendant’s motion for a
               19       BOP recommendation (ECF No. 244) be, and the same hereby is, GRANTED.
               20              IT IS FURTHER ORDERED that the clerk shall include this recommendation in the
               21       judgment.
               22              DATED August 17, 2016.
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               24                                                    UNITED STATES DISTRICT JUDGE

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James C. Mahan
U.S. District Judge
